     Case 3:08-cr-00095-MO   Document 954   Filed 12/06/18        Page 1 of 3




UNITED STATES OF AMERICA                                  No. 3:08-cr-00095-MO

               Plaintiff,                                                   VERDICT

    v.

ANDREW FRANKLIN
KOWALCZYK,

               Defendant.


                             VERDICT FORM

                  of December, 2018.



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                                               (!V\J\J,))/\J\c•( V,/~.j-~
                                             MICHAEL W. MQSMr\N
                                             Chief United States District Judge
        Case 3:08-cr-00095-MO       Document 954       Filed 12/06/18          Page 2 of 3




        We the jury, being duly empaneled and sworn, hereby find the following unanimous
verdicts in this case against the defendant Andrew Franklin Kowalczyk:

                                        Count One
                               Sexual Exploitation of Children
              (April 21, 2005 through April 25, 2005 - Econo Lodge - "A.B.")

              _ _ _ Not Guilty                                    K.           Guilty


                                       Count Two
                              Sexual Exploitation of Children
              (April 21, 2005 through April 25, 2005- Econo Lodge - "S.B.")

              _ _ _ Not Guilty                                  ~Guilty


                                        Count Three
                               Sexual Exploitation of Children
                 (April 27, 2005 through April 29, 2005-Motel 6 - "A.B.")

              _ _ _ Not Guilty                                     X........   Guilty


                                        Count Four
                              Sexual Exploitation of Children
                 (April 27, 2005 through April 28, 2005 - Motel 6 - "S.B.")

              - - - Not    Guilty                               -X-Guilty


                                      Count Five
                             Sexual Exploitation of Children
           (May 8, 2005 through June 9, 2005 - Madison Suites Motel - "A.B.")

              - - - Not    Guilty                               ~Guilty


                                       Count Six
                            Sexual Exploitation of Children
           (May 8, 2005 through June 4, 2005 - Madison Suites Motel - "S.B.")

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                       Not Guilty                               -X-Guilty




I-VERDICT
      Case 3:08-cr-00095-MO        Document 954   Filed 12/06/18    Page 3 of 3




                                     Count Seven
                           Sexual Exploitation of Children
      (June 16, 2005 through June 24, 2005 - Parkway East Apartments - "D.L.")

              - - - Not   Guilty                           A-Guilty


                                     Count Eight
                           Sexual Exploitation of Children
               (September 10, 2005- Parkway East Apartments - "A.B.")

              _ _ _ Not Guilty                                  .
                                                             J<..   Guilty


                                    Count Nine
                           Sexual Exploitation of Children
 (September 10, 2005 through September 11, 2005 - Parkway East Apartments - "S.B.")

              _ _ _ Not Guilty                            4Guilty


DATED: This   (o¾ay of December, 2018.




2-VERDICT
